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                 EXHIBIT B-076
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                                                                                     FILED IN OFFICE

                   IN THE SUPERIOR COURT OF FULTON COUNTY
                               STATE OF GEORGIA                                     D[PUTYCI.


                                                    )
IN RE: SPECIAL PURPOSE GRAND JURY                   )       2022-EX- v e, c:., t,   l(
                                                    )                         :;t'..~v.>

           MOTION TO QUASH GRAND JURY SUBPOENA BY KENNETH CHESEBRO

       COMES NOW Mr. Kenneth Chesebro, through undersigned counsel, and moves to quash

a grand jury subpoena for testimony, issued by the Fulton County District Attorney's Office, in

relation to the Special Purpose Grand Jury investigating events surrounding the 2020 presidential

election. In support of this Motion to Quash, Mr. Chesebro shows as follows:

                                 FACTUAL BACKGROUND

       Mr. Kenneth Chesebro is a practicing attorney in New York.           On July 12, 2022, Mr.

Chesebro was served with a subpoena to appear before the Fulton County Special Purpose Grand

Jury. See Exhibit A. 1 Mr. Chesebro is currently scheduled to appear before the Special Purpose

Grand Jury on August 30, 2022.

       Based on information obtained from the District Attorney's office, the subpoena issued to

Mr. Chesebro relates to the DA's ongoing investigation of former President Donald Trump and

others for alleged interference in the 2020 election, and the testimony that the DA will seek to

elicit from Mr. Chesebro relates to his prior representation of the Donald J. Trump for President

campaign (hereinafter "Trump Campaign").        Accordingly, any testimony from Mr. Chesebro




       1 In connection with the subpoena, this Court issued a Certificate to Secure the Attendance
of Out-of-State Witnesses under the Uni form Act. Mr. Chesebro waived his rights to challenge
this Certificate and as a result, on July 25, 2022, Justice Thomas Farber, New York County
Supreme Court, issued a Final Order mandating Mr. Chesebro's attendance at the Fulton Grand
Jury.
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would necessarily relate to Mr. Chesebro's representation of a former client -               the Trump

Campaign - a fact that is directly relevant to the legal analysis set forth below.

                                       LEGAL ARGUMENT

        There are two major issues involved in Mr. Chesebro's upcoming testimony: attorney-

client privilege and Mr. Chesebro's duty of confidentiality. Each will be discussed in turn.

                                      Attorney-Client Privilege

        Because Mr. Chesebro was, at all times relevant to this matter, acting as an attorney for the

Trump campaign, it is likely that many, if not most, of the DA's questions at the Grand Jury will

implicate the attorney-client privilege. Mr. Chesebro cannot address this issue fully without

knowing the questions, or at least the topics, that the DA plans to ask before the grand jury.

Accordingly, Mr. Chesebro respectfully requests that this Court hold a hearing where the DA will

be required to identify their planned areas of inquiry so that the parties can litigate this issue before

Mr. Chesebro's grand jury appearance.

                                       Duty of Confidentiality

        Separate and distinct (although obviously somewhat related to) the attorney-client

privilege, is Mr. Chesebro's duty of confidentiality. Under the New York Rules of Professional

Conduct (NYRPC), 2 in addition to the attorney-client privilege, lawyers have the duty to keep

certain information confidential. That latter duty is, in many ways, broader than the attorney-client




       2 Mr. Chesebro is licensed to practice law in New York, currently resides there, and is
therefore subject to the NYRP·c regarding any appearance before the Special Purpose Grand Jury.
At the time of his representation of the Trump Campaign, however, he was a resident of
Massachusetts, where he is also licensed to practice law. While this motion cites NYRPC 1.6,
Massachusetts has adopted a similar version of the same rule so, regardless of which state's rules
apply, the arguments contained in this brief remain the same. See Massachusetts Rules of
Professional Conduct Rule 1.6.
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privilege. See, e.g., United States v. Kasmir, 499 F.2d 444,453 (5th Cir. 1974), rev'd on other

grounds by Fisher v. United States, 425 U.S. 391 (1976) (describing an attorney's duty of

confidentiality as an ethical obligation that "is broader than and independent of the attorney-client

privilege."). Specifically, NYRPC 1.6(a) states:

       A lawyer shall not kn,owingly reveal confidential information, as defined in this
       Rule, or use such information to the disadvantage of a client or for the advantage
       of the lawyer or a third person, unless:

       (I) the client gives informed consent ... ;

       (2) the disclosure is impliedly authorized to advance the best interests of the client
           and is either reasonable under the circumstances or customary in the
           professional community; or

       (3) the disclosure is permitted by paragraph (b). 3

Paragraph (b) provides in pertinent part that "a lawyer may reveal confidential client information

to the extent the lawyer reasonably believes necessary" ... "to comply with other law or court

order." See NYRPC 1.6(b)(6). The phrase "confidential information" is defined in NYRPC 1.6(a)

as follows:

       information gained during or relating to the representation of a client, whatever its
       source, that is (a) protected by the attorney-client privilege, (b) likely to be
       embarrassing or detrimental to the client if disclosed, or (c) information that the
       client has requested be kept confidential.

(emphasis added). NYRPC 1.6(c) provides that "[a] lawyer shall make reasonable efforts to

prevent the inadvertent or unal/thorized disclosure or use of, or unauthorized access to, information

protected by Rule[] 1.6 .... " Comment 16 to NYRPC 1.6 makes it clear that these duties apply

equally to former clients.     Moreover, Comment 13 to NYRPC 1.6 provides that, when a

governmental entity claiming authority to compel disclosure orders a lawyer to reveal confidential




        3 None of the circumstances listed in NYRPC I .6(b) applies to this case.
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information, an attorney is required to take steps to avoid such disclosure, which Mr. Chesebro is

doing here by filing this motion to quash.4

       One important way in which the duty of confidentiality contained in NYRPC l .6 is broader

than the attorney-client privilege relates to its scope. Comment 3 to NYRPC 1.6 states: "The

confidentiality duty applies not only to matters communicated-in confidence by the client, which

are protected by the attorney-client privilege, but also to all information gained during and

relating the representation, whatever its source."         (emphasis added).      Accordingly, any

information the DA could ask Mr. Chesebro would necessarily fall under Rule 1.6.

       Given the broad definition of"confidential information" subject to Rule 1.6, it is likely that

any question that the DA's, office would want to ask Mr. Chesebro during his grand jury

appearance would fall within the confines of Rule 1.6, thereby prohibiting Mr. Chesebro from

answering, regardless of whether attorney-client privilege applies.

                                         CONCLUSION

       Because the testimony that will be sought appears to fall squarely within the type of

information that both the attorney-client privilege and NYRPC 1.6 was designed to protect, in that

it would potentially be embarrassing and/or detrimental to his former client, and because the

Trump Campaign has not given informed consent to its disclosure, Mr. Chesebro hereby moves

for the Court to quash the subpoena in question.



                           [SIGNATURE ON FOLLOWING PAGE)




       4 To be clear, the Trump Campaign has not provided consent in this case. In fact, the
Campaign has instructed Mr. Chesebro, through undersigned counsel, to maintain all applicable
privileges and confidentiality.
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  Respectfully submitted this 25th day of August, 2022,

                                  s/ Scott R. Grubman
                                  Scott R. Grubman
                                  Georgia Bar No. 317011

                                  CHILIVIS GRUBMAN
                                  1834 Independence Square
                                  Atlanta GA 30338
                                  (404) 262-6505 (telephone)
                                  (404) 261-2842 (facsimile)
                                  sgrubman@cglawfirm.com

                                  Attorneys for Mr. Chesebro
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                            CERTIFICATE OF SERVICE

      I hereby certify that on August 25, 2022, I sent the foregoing MOTION TO QUASH

GRAND JURY SUBPOENA to counsel for the State via email:

       Will Wooten
       Deputy District Attorney
       Will. Wooten@fultoncountyga.gov



                                    s/ Scott R. Grubman
                                    Scott R. Grubman
                                    Georgia Bar No. 317011

                                    CHILIVIS GRUBMAN
                                   1834 Independence Square
                                   Atlanta GA 30338
                                   (404) 262-6505 (telephone)
                                   (404) 261-2842 (facsimile)
                                   sgrubman@cglawfirm.com
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                          EXHIBITA
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 SUPREME COURT OF THE STATE OF NEW YORK
 COUNTY OF NEW YORK: PART 52
 --------------------------------------------------------X
 IN THE i'vlATTEROF THE APPLICATION OF
 FANI T. WILLIS, DISTRICT ATTORNEY,
 1\TLANTAJUDICIAL CIRCUIT, FULTON
 COUNTY, GEORGIA, FOR THE
 APPEARANCE OF KENNETH CHESEBRO, AS                            FINAL ORDER
 A 1'1ATERIALWI1NESS BEFORE THE                                SCID# SMW-72789-22
 SPECIAL PURPOSE GRAND JURY, SUPERIOR
 COURT OF FULTON COUNTY, ATLANTA
 JUDICIAL CIRCUIT, STATE OF GEORGIA.


     -------------------------------X


        TO:      Kenneth Chesebro
                 230 Central Park South PH16
                 New York, New York 10019-1409


        WHEREAS, there has been presented to me as a Justice of the Supreme Court, Part

 52, State of New York, a Certificate to Secure the Attendance of Out-of-State Witnesses signed

 by the Honorable Christopher S. Brasher, Chief Judge of the Superior Court of Fulton County,

 Atlanta Judicial Circuit, State of Georgia, that a Special Purpose Grand Jury has been drawn

 and impaneled in said county, that is a necessary and material witness for the State of Georgia

 in said criminal proceeding, that the presence of Kenneth Chesebro will be required to be in

 attendance and testify before the Special Purpose Grand Juty commencing on July 12, 2022

 and continuing through and until the conclusion of the Witness's ·testimony on or before

 August 31, 2022 and requesting that Kenneth Chesebro be ordered to appear and testify as a

 necessary and 1naterial witness pursuant to the attached Cettificate from the Honorable

 Christopher S. Brasher, Chief Judge of the Superior Court of Fulton County, Atlanta .Judicial

 Circuit, State of Georgia, a court of record.
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        IT IS HEREBY ORDERED, that Kenneth Chesebro, having been properly served

 with an Order to Show Ca~1seand having demonstrated no cause why a summons should not

 be issued as described, a Final Order is hereby issued by this Court;

        THIS COURT relying on the reciprocity between the State of Georgia and the State

 of New York pursuant to their mutual adoption of the Uniform Act to Secure Attendance of

 Witness Without the State in Criminal Cases, and being satisfied that the requested testimony

 of is materialand necessaqr to the criminalproceedingand in the public interest;

         IT IS HEREBY ORDERED that Kenneth Chesebro appear and testify before the

 Special P'urpose Grand Jury in the Superior Court of the State of Georgia for the County of

 Fulton, on August 30, 2022, and on any such other dates as the court there may order.



         ENTERED as an order on this 25th day of July 2022.


                                           ~£_  JUSTICE OF THE SUPREME COURT


                                                      HON.
                                                        THOMAS
                                                            FARbER




                                                2
